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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


  TYLER MORRISON,
  on behalf of himself and all
  others similarly situated,

                          Plaintiffs,
                 v.                               CASE NO. 1:19-cv-01257-JKB

  AT&T MOBILITY LLC,

                          Defendant.


                         NOTICE OF DISMISSAL WITH PREJUDICE



       Plaintiff Tyler Morrison files this Notice of Dismissal with Prejudice pursuant to Fed. R.

Civ. P. 41(a)(1) in the above captioned matter. As of the date of this Notice, Defendant AT&T

Mobility LLC has not served an answer or a motion for summary judgment. The dismissal of this

matter shall be entered with prejudice.

                                             Respectfully submitted,

                                             Z LAW, LLC

 Dated: April 10, 2020                       ________/s/ 28191_______       ________
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